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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

                                                   §
 DOYCE ELAINE THOMPSON,                            §
                                                   §
         Plaintiff,                                §
                                                   §       Case No. 4:17-cv-00913-O
 v.                                                §
                                                   §
 COMMONWEALTH FINANCIAL                            §
 SYSTEMS, INC.,                                    §
                                                   §
         Defendant.                                §

                             JOINT MOTION TO DISMISS

        Plaintiff, Doyce Elaine Thompson, and Defendant, Commonwealth Financial

Systems, Inc., by and through their undersigned counsel, hereby jointly advise the Court

that they have reached a settlement of the captioned matter and request that the Court enter

an order of dismissal on the following terms in light of the terms of their settlement

agreement:

        1.     The terms of the parties fully-executed and exchanged settlement agreement,

will not be fully consummated until December 20, 2018.

        2.     Accordingly, the parties respectfully request that the Court enter an order that

dismisses this matter with prejudice, with each party to bear its own costs and attorney’s

fees, but with the Court retaining jurisdiction to enforce the settlement agreement if a

motion to re-open the case and enforce the settlement agreement is filed on or before

December 22, 2018.



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       WHEREFORE, for the foregoing reasons, the Parties respectfully request that the

Court enter the proposed order filed with this motion dismissing this matter with prejudice

but with the Court retaining jurisdiction to enforce the settlement agreement provided that

a motion to re-open the case and enforce the settlement agreement is filed on or before

December 22, 2018.



 Respectfully submitted,                        Respectfully submitted,

 /s/ Nathan C. Volheim                          /s/ Charles R. Penot, Jr.
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 Attorneys for Plaintiff



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                           CERTIFICATE OF SERVICE

      I hereby certify that on September 11, 2018, a copy of the foregoing was

electronically filed with the Clerk of the Court, United States District Court for the

Northern District of Texas and served via CM/ECF upon the following:

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                                                    /s/ Charles R. Penot, Jr.
                                                    Charles R. Penot, Jr.




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